     Case: 1:24-cv-04699 Document #: 24 Filed: 10/08/24 Page 1 of 2 PageID #:172



                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

JEREMY MAYORAL,                                           )
                                                          )
                          PLAINTIFF,                       )    Case No. 24-4699
                                                          )
                                                          )      Hon. Edmond E. Chang
                    v.                                    )
                                                          )
 MCGRATH CITY HYUNDAI, INC., et al,                       )
                                                          )
                          DEFENDANTS.

      PLAINTIFF'S MOTION FOR AN EXTENSION OF TIME TO COMPLY

        Plaintiff files this Motion for entry of an Order extending Plaintiff’s time to comply with

 the Court’s October 1, 2024, Order (docket #23) through and including October 11, 2024. In

 support of its Motion, Plaintiff states as follows:

        1.           The Court issued an Order on October 1, 2024, requiring Plaintiff to issue

disclosures and written discovery to Defendants.

        2.         Plaintiff’s counsel, HR LAW COUNSEL, was closed since September 28, 2024, due

to illness.

        3.         Plaintiff’s counsel was unable to comply with the Court’s October 1, 2024, Order

due to an acute medical issue.

        4.         Plaintiff’s counsel contacted Defendant’s counsel yesterday regarding this matter,

but did not receive a response prior to filing.

        5.         The short extension requested by Plaintiff is for good cause and will not unduly delay

this litigation.




                                                     1
     Case: 1:24-cv-04699 Document #: 24 Filed: 10/08/24 Page 2 of 2 PageID #:173



DATED: October 7, 2024                                                Respectfully Submitted,

                                                                      By: /s/ Ethan G. Zelizer

                                                                      Attorney for Plaintiff

Ethan Zelizer
HR Law Counsel, LLC
29 S. Webster Street, Suite 350-C
Naperville, IL 60540
Tel: 630.551.8374
ethan@hrlawcounsel.com


                                  CERTIFICATE OF SERVICE


       The undersigned attorney hereby certifies that on October 7, 2024, he served the foregoing
upon the following via electronic mail:

       Molly M. Jones molly.jones@wickphillips.com, jaime.olson@wickphillips.com,
       julie.stackhaus@wickphillips.com

       Shelby M Broaddus       jaime.olson@wickphillips.com, shelby.broaddus@wickphillips.com

       Jonathan William Garlough        jgarlough@foley.com

       Lynne Marie Mueller       durovka@litchfieldcavo.com, mueller@litchfieldcavo.com

Attorneys for Defendants.

On this same day, this Certificate of Service was electronically filed with the Clerk of the Court using
CM/ECF system which will send notification of such filing to the CM/ECF participant(s).

Respectfully submitted,

/s/ Ethan G. Zelizer
Attorney for the Plaintiff




                                                  2
